Case 2:21-cr-00442-FMO Document 58 Filed    09/21/21
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                                                               Page 1 of 1 Page ID #:379
                                                  09/21/2021

                                              CENTRAL DISTRICT OF CALIFORNIA
                                                        DM
                                                BY: ___________________ DEPUTY



 Memorandum


 Subject: 2:21-cr-00442-FMO                       Date:

 United States v.                                 September 20, 2021
 Seyed Ziaeddin Taheri Zangakani, et al.
 To:                                              From:

 KIRY K. GRAY                                     WILLIAM M. ROLLINS
 Clerk, United States District Court              Assistant United States Attorney
 Central District of California                   National Security Division



The above-referenced matter, being filed on September 21, 2021:



        Relates to a matter that was pending in the Terrorism and Export Crimes Section in the
        USAO’s National Security Division on or before August 3, 2015; (2) a matter pending in
        the USAO’s National Security Section in the USAO’s Criminal Division on or before
        August 3, 2015, or a matter in which the National Security Section was previously
        involved; (3) a matter pending in the USAO’s National Security Division between
        September 14, 2016 and March 20, 2020; or (4) a matter in which Assistant United States
        Attorney Patrick R. Fitzgerald is or has been personally involved or on which he has
        personally consulted while employed in the USAO.


                                                 WILLIAM M. ROLLINS
                                                 Assistant United States Attorney
